                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    Knoxville Division


    NATIONAL CASUALTY COMPANY,                              )
                                                            )
                              Plaintiff,                    )
                                                            )
    v.                                                      )       C.A. No. 3:13cv291
                                                            )
    FELLOWSHIP ASSOCIATION OF                               )
      RESOURCE MINISTRIES, INC., et al.,                    )
                                                            )
                              Defendants.                   )
                                                            )

                                   STIPULATION OF DISMISSAL

               The parties hereby stipulate to dismissing this action, with prejudice, under Rule

    41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. Each side is to bear its own fees

    and costs.

    WE ASK FOR THIS:

    NATIONAL CASUALTY COMPANY


            /s/ Kevin T. Streit
    Kevin T. Streit (VSB No. 45024)
    Midkiff, Muncie & Ross, P.C.
    300 Arboretum Place, Suite 420
    Richmond, Virginia 23236
    (804) 560-9600
    (804) 560-5997 (facsimile)
    kstreit@midkifflaw.com
    Counsel for Scottsdale Insurance Company

    Brian J. Rife (BPR No. 23853)
    MIDKIFF, MUNCIE & ROSS, P.C.
    110 Piedmont Avenue, Suite 202
    Bristol, Virginia 24201
    (276) 644-9600
    (276) 644-4679 (facsimile)

    {00142685.DOCX }                                  -1-

Case 3:13-cv-00291-TAV-CCS Document 22 Filed 04/01/14 Page 1 of 2 PageID #: 277
    brife@midkifflaw.com
    Co-Counsel for National Casualty Company


    Joanna M. Roberto, Esquire (Admitted Pro Hac Vice)
    GOLDBERG SEGALLA, LLP
    100 Garden City Plaza, Suite 225
    Garden City, New York 11530-3203
    (516) 281-9800
    (516) 281-9801 (facsimile)
    jroberto@goldbergsegalla.com
    Co-Counsel for National Casualty Company


    FELLOWSHIP ASSOCIATION OF RESOURCE MINISTRIES, INC.


           /s/ Donald D. Howell
    Signed with Donald Howell's permission by Kevin T. Streit, Esq.
    Donald D. Howell (BPR No. 11541)
    FRANTZ, MCCONNELL & SEYMOUR, LLP
    550 West Main Street, Suite 500
    Post Office Box 39
    Knoxville, Tennessee 37901
    (865) 546-9321
    (865) 541-4682 (facsimile)
    dhowell@fmsllp.com
    Counsel for Fellowship Association of Resource Ministries, Inc.


    SEBASTIAN A. GILLETTE


           /s/ Barbara W. Clark
    Signed with Barbara Clark's permission by Kevin T. Streit, Esq.
    Barbara W. Clark (BPR No. 15408)
    2415 East Magnolia Avenue
    Knoxville, Tennessee 37917
    (865) 546-7074
    (865) 523-6992 (facsimile)
    bwclaw@aol.com
    Counsel for Sebastian A. Gillette




    {00142685.DOCX }                              -2-

Case 3:13-cv-00291-TAV-CCS Document 22 Filed 04/01/14 Page 2 of 2 PageID #: 278
